Case 1:12-cr-00102-TWP-TAB           Document 633       Filed 10/04/12     Page 1 of 5 PageID #:
                                            1902



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )
                                             )
           v.                                ) Case No: 1:12-cr-0102-TWP-MJD
                                             )
 STEVEN LECCLIER,                            )            -38
                                             )
        Defendant.                           )

                ENTRY ON RECONSIDERATION OF DETENTION ORDER

        This matter is before the Court on Defendant Steven Lecclier’s (“Mr. Lecclier”) request

 for de novo review of the Magistrate Judge’s order of pretrial detention. Pursuant to 18 U.S.C.A.

 §3145(b), the district court judge must review a detention order of the magistrate judge if a

 motion is filed and the motion shall be determined promptly. This Court has reviewed the record

 of proceedings held on July 20, 2012, reviewed the pretrial services report (PS3) and

 recommendation of detention, prepared by the United States Probation Office and has considered

 the Motion for Reconsideration (with exhibits) filed by the Defendant and the Government’s

 Response thereto. Additionally, the Court has reconsidered the Entry and Order of Detention

 Pending Trial (Dkt. 585) entered by the Magistrate Judge on September 4, 2012.

        In this case, the Court finds no hearing is necessary. Based on the evidence proffered,

 Mr. Lecclier does not rebut the presumption that he is a serious risk of flight and danger to the

 community. Additionally, the Government proved by clear and convincing evidence that the

 Defendant is a danger to the community.            Consequently, Mr. Lecclier’s motion for

 reconsideration (Dkt. 620) is denied.
Case 1:12-cr-00102-TWP-TAB           Document 633        Filed 10/04/12     Page 2 of 5 PageID #:
                                            1903



                          FINDINGS AND CONCLUSIONS OF LAW

        On July 3, 2012, Mr. Lecclier was charged by indictment with the unlawful use of a

 communication facility, in violation of 21 U.S.C. 843(b). On July 11, 2012, an initial hearing,

 was held and the Government filed a written motion and moved for detention pursuant to 18

 U.S.C. 3142(e) and (f)(2) on the grounds that the defendant is a serious risk of flight and poses a

 danger to the community. A detention hearing was held on July 20, 2012. The United States

 appeared by Bradley A. Blackington, Assistant United States Attorney. Mr. Lecclier appeared in

 person and by his appointed counsel, Michael A. Slagle. At the detention hearing, both counsel

 for the Government and counsel for the defendant proceeded by proffer. After hearing argument

 from both parties, the Magistrate Judge found by a preponderance of the evidence that Mr.

 Lecclier is a risk of flight and by clear and convincing evidence poses a danger to the

 community. Mr. Lecclier was ordered detained. On September 25, 2012, over two months later,

 Mr. Lecclier filed the instant motion asking the Court to reconsider the Magistrate Judge’s order

 of detention.

        Based upon the Indictment, probable cause exists to believe Mr. Lecclier committed the

 crime charged therein. The Court takes judicial notice of the Indictment, the pleadings filed in

 this case, and incorporates the proffers of evidence and argument admitted during the detention

 hearing. Further, the Court considers the motions and exhibits submitted following the hearing.

 Among the factors the court should consider both on the issue of flight and dangerousness to the

 community are the defendant’s character, physical and mental condition, family ties,

 employment, financial resources, length of residence in the community, past conduct, history

 relating to drug or alcohol abuse, criminal history and record concerning appearances at court

 proceedings. 18 U.S.C. 3142 (g)(3)(A). However, the presence of community ties and family



                                                 2
Case 1:12-cr-00102-TWP-TAB           Document 633        Filed 10/04/12      Page 3 of 5 PageID #:
                                            1904



 ties has been found to have no correlation with the issue of safety in the community. United

 States v Delker, 757 F.2d 1390, 1396 (3rd Cir. 1985).

        In this regard, the Court finds and concludes that the evidence in this case demonstrates

 the following:

        Mr. Lecclier, is 64 years old. He has been disabled since May 31, 2002 (See Dkt. 620-1

 at 5) due to hepatitis C, degenerative and herniated discs, and bursitis. Additionally, his attorney

 proffers that Mr. Lecclier suffers from COPD, emphysema and pulmonary fibrosis. Mr. Lecclier

 is kind and helpful to his family and friends. (See Dkt.620-2.) He had been married for 15 years

 and has lived in the same neighborhood during that time. Because of his disability, he does not

 work. Mr. Lecclier argues that because he is a senior citizen in poor health, he no longer poses a

 danger to the community. The Court, however, is not persuaded. Despite his physical ailments

 and seniority, Mr. Lecclier continues to abuse illegal drugs. He tested positive for cannabinoids

 (and opiates which he alleges are prescribed) at the time of his arrest. Despite suffering from

 pulmonary disease, he admits to using marijuana within 30 days of his arrest. Importantly, Mr.

 Lecclier has a history of extreme violence and disregard for authority. He has at least eight prior

 misdemeanor convictions and at least six prior felony convictions, beginning with Manslaughter

 (which was originally charged as Murder) when he was 22 years old. Additionally, Mr. Lecclier

 has felony convictions for offenses of Burglary of a Habitation, Assaulting an Officer, violation

 of the Imitation Controlled Substances Act, Felon in Possession of a Firearm and Attempted

 Rape and Confinement. Mr. Lecclier argues that his last felony conviction, the Attempted Rape,

 occurred in 1989, somehow diminishes the risk of violence. However, following his release from

 prison for the Attempted Rape conviction, he did not become a law abiding citizen, but

 continued to commit crimes and was convicted twice of operating a vehicle while intoxicated in



                                                  3
Case 1:12-cr-00102-TWP-TAB            Document 633       Filed 10/04/12      Page 4 of 5 PageID #:
                                             1905



 1995 and of patronizing a prostitute in 1999. And now, at the age of 64, Mr. Lecclier has been

 indicted by a federal Grand Jury and probable cause exists to believe that he committed the crime

 charged in the Indictment.

           Having weighed the 18 U.S.C. § 3142(g)(3)(A) factors, including Mr. Lecclier’s criminal

 history, past conduct, character, history relating to drug and alcohol abuse, and based upon the

 totality of the evidence, the Court finds the Government has proven by clear and convincing

 evidence that Mr. Lecclier poses a serious danger to the community. Further, § 3142 provides

 that a defendant shall be detained upon a showing by a preponderance of the evidence that no

 condition or combination of conditions will reasonably assure the defendant’s appearance in

 court or insure the safety of others. The Court’s de novo determination is that the Government

 has met its burden and Mr. Lecclier’s appeal from the Magistrate Judge’s Order of Detention is

 denied.

                                        CONCLUSION

           The Court’s independent determination is that Defendant Steven Lecclier’s Appeal from

 Detention Order (Dkt. 620) is DENIED. As no hearing was necessary, the hearing scheduled for

 October 11, 2012 is vacated. Mr. Lecclier shall remain committed to the custody of the Attorney

 General or his designated representative for confinement in a correction facility separate, to the

 extent practicable, from persons waiting or serving sentences or being held in custody pending

 appeal. He shall be afforded a reasonable opportunity for private consultation with defense

 counsel. Upon order of this Court, or on request of an attorney for the Government, the person

 in charge of the correction facility shall deliver Mr. Lecclier to the United States Marshal for the

 purpose of an appearance in connection with the Court proceeding.




                                                  4
Case 1:12-cr-00102-TWP-TAB        Document 633    Filed 10/04/12   Page 5 of 5 PageID #:
                                         1906



        SO ORDERED


        Date:    10/04/2012                      ________________________
                                                 Hon. Tanya Walton Pratt, Judge
                                                 United States District Court
                                                 Southern District of Indiana
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 United States Marshal Service

 United States Probation Office




                                           5
